Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 1 of 65 PageID #: 3596
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 2 of 65 PageID #: 3597
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 3 of 65 PageID #: 3598
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 4 of 65 PageID #: 3599
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 5 of 65 PageID #: 3600
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 6 of 65 PageID #: 3601
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 7 of 65 PageID #: 3602
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 8 of 65 PageID #: 3603
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 9 of 65 PageID #: 3604
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 10 of 65 PageID #:
                                    3605
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 11 of 65 PageID #:
                                    3606
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 12 of 65 PageID #:
                                    3607
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 13 of 65 PageID #:
                                    3608
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 14 of 65 PageID #:
                                    3609
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 15 of 65 PageID #:
                                    3610
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 16 of 65 PageID #:
                                    3611
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 17 of 65 PageID #:
                                    3612
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 18 of 65 PageID #:
                                    3613
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 19 of 65 PageID #:
                                    3614
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 20 of 65 PageID #:
                                    3615
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 21 of 65 PageID #:
                                    3616
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 22 of 65 PageID #:
                                    3617
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 23 of 65 PageID #:
                                    3618
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 24 of 65 PageID #:
                                    3619
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 25 of 65 PageID #:
                                    3620
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 26 of 65 PageID #:
                                    3621
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 27 of 65 PageID #:
                                    3622
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 28 of 65 PageID #:
                                    3623
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 29 of 65 PageID #:
                                    3624
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 30 of 65 PageID #:
                                    3625
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 31 of 65 PageID #:
                                    3626
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 32 of 65 PageID #:
                                    3627
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 33 of 65 PageID #:
                                    3628
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 34 of 65 PageID #:
                                    3629
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 35 of 65 PageID #:
                                    3630
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 36 of 65 PageID #:
                                    3631
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 37 of 65 PageID #:
                                    3632
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 38 of 65 PageID #:
                                    3633
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 39 of 65 PageID #:
                                    3634
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 40 of 65 PageID #:
                                    3635
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 41 of 65 PageID #:
                                    3636
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 42 of 65 PageID #:
                                    3637
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 43 of 65 PageID #:
                                    3638
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 44 of 65 PageID #:
                                    3639
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 45 of 65 PageID #:
                                    3640
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 46 of 65 PageID #:
                                    3641
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 47 of 65 PageID #:
                                    3642
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 48 of 65 PageID #:
                                    3643
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 49 of 65 PageID #:
                                    3644
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 50 of 65 PageID #:
                                    3645
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 51 of 65 PageID #:
                                    3646
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 52 of 65 PageID #:
                                    3647
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 53 of 65 PageID #:
                                    3648
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 54 of 65 PageID #:
                                    3649
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 55 of 65 PageID #:
                                    3650
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 56 of 65 PageID #:
                                    3651
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 57 of 65 PageID #:
                                    3652
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 58 of 65 PageID #:
                                    3653
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 59 of 65 PageID #:
                                    3654
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 60 of 65 PageID #:
                                    3655
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 61 of 65 PageID #:
                                    3656
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 62 of 65 PageID #:
                                    3657
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 63 of 65 PageID #:
                                    3658
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 64 of 65 PageID #:
                                    3659
Case 2:13-cv-05475-JS-AKT Document 128-27 Filed 04/27/15 Page 65 of 65 PageID #:
                                    3660
